                         EXHIBIT G
Case 2-19-20905-PRW, Doc 2222-7, Filed 09/15/23, Entered 09/15/23 14:06:46,
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                                         10 E. Doty St., Suite 600
                                       Madison, Wisconsin 53703-3392
                                               608-286-2302
                                            www.BurnsBair.com

Official Committee of Unsecured Creditors of                                 Issue Date :      8/31/2023
The Diocese of Rochester, New York
                                                                                   Bill # :       01213



Matter: Insurance

                              PROFESSIONAL SERVICES RENDERED


Date       Timekeeper     Narrative                                                    Hours    Amount
7/2/2023 Jesse Bair      Review correspondence with state court counsel re             0.10       $62.50
                         additional CNA demand letters (.1);
7/3/2023   Jesse Bair    Review I. Scharf correspondence re mediation update           0.10       $62.50
                         (.1);
7/5/2023   Leakhena Au Edit and revise insurance demand letters (.5); review           0.60      $252.00
                         and respond to correspondence from T. Burns re same
                         (.1);
7/5/2023   Timothy Burns Correspondence with BB team re upcoming mediation             0.90      $630.00
                         (.2); review certain Interstate demand letters (.2); review
                         correspondence with BB team re same (.2); review
                         correspondence with I. Scharf and the Committee re
                         status of settlement negotiations (.1); review and
                         respond to correspondence with J. Bair and I. Scharf re
                         Interstate demands (.2);
7/5/2023   Jesse Bair    Review I. Scharf correspondence re mediation update           0.10       $62.50
                         (.1);
7/5/2023   Jesse Bair    Preliminary review and analysis of draft Interstate           0.40      $250.00
                         demand letters (.3); correspondence with I. Scharf re
                         same (.1);
7/5/2023   Jesse Bair    Begin preparations for upcoming CNA mediation (.1);           0.10       $62.50
7/5/2023   Jesse Bair    Analyze additional CNA demand letters prepared by             0.20      $125.00
                         state court counsel (.2);
7/6/2023   Jesse Bair    Correspondence with I. Scharf re Interstate demand            0.10       $62.50
                         letters (.1);
7/6/2023   Jesse Bair    Analysis regarding potential additional CNA demand            0.40      $250.00
                         letters (.3); provide instructions to N. Kuenzi re
                         preparing same (.1);
7/6/2023   Nathan Kuenzi Draft additional CNA demand letters (1.0);                    1.00      $420.00




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7/6/2023 Timothy Burns Participate in conference with J. Bair re insurance              0.60    $420.00
                        settlement strategy (.1); correspondence with state court
                        counsel and J. Bair re CNA demands (.2); review
                        correspondence from BB to PSZJ re Interstate
                        demands (.1); review correspondence with state court
                        counsel re CNA demands (.2);
7/6/2023 Jesse Bair     Participate in conference with T. Burns re case                 0.10     $62.50
                        settlement strategy and Interstate demand letters (.1);
7/7/2023 Timothy Burns Review correspondence with J. Bair and PSZJ re First             0.40    $280.00
                        State (.2); participate in call with I. Scharf and J. Bair re
                        Interstate demands and negotiation (.2);
7/7/2023 Jesse Bair     Correspondence with I. Nasatir re response to First             0.10     $62.50
                        State's latest offer (.1);
7/7/2023 Jesse Bair     Participate in call with T. Burns and I. Scharf re Interstate   0.20    $125.00
                        demand letters and upcoming CNA mediation (.2);
7/7/2023 Jesse Bair     Review final versions of additional CNA demand letters          0.40    $250.00
                        sent by state court counsel (.2); draft additional CNA
                        demand letter (.1); correspondence with state court
                        counsel re same (.1);
7/10/2023 Timothy Burns Review correspondence from I. Scharf re status of               0.70    $490.00
                        settlement negotiations (.1); review correspondence
                        from J. Bair re same (.1); participate in state court
                        counsel meeting for insurance purposes re insurance
                        mediation strategy (.5);
7/10/2023 Jesse Bair    Review I. Scharf correspondence re Interstate and CNA           0.10     $62.50
                        mediation updates (.1);
7/10/2023 Jesse Bair    Analysis re CNA exposure and coverage issues in                 0.20    $125.00
                        advance of upcoming mediation (.2);
7/10/2023 Jesse Bair    Participate in state court counsel meeting for insurance        0.50    $312.50
                        purposes re Interstate and CNA mediation strategy (.5);
7/11/2023 Timothy Burns Review correspondence from I. Scharf re upcoming                0.20    $140.00
                        mediation (.1); review correspondence from PSZJ and
                        Blank Rome re First State settlement (.1);
7/11/2023 Jesse Bair    Review I. Scharf and Blank Rome correspondence re               0.10     $62.50
                        First State settlement (.1);
7/11/2023 Timothy Burns Participate in call with J. Bair re Interstate settlement       0.10     $70.00
                        (.1);
7/11/2023 Jesse Bair    Participate in call with T. Burns re Interstate settlement      0.10     $62.50
                        (.1);
7/11/2023 Jesse Bair    Review I. Scharf correspondence re CNA mediation                0.10     $62.50
                        (.1);
7/12/2023 Jesse Bair    Travel to Rochester from Madison for mediation [billed          7.60   $2,375.00
                        at 1/2 travel rate] (7.6);
7/12/2023 Jesse Bair    Participate in conference with T. Burns re Interstate           0.10     $62.50
                        settlement and CNA mediation strategy (.1);
7/12/2023 Jesse Bair    Review I. Scharf and state court counsel                        0.10     $62.50
                        correspondence re mediation developments (.1);




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7/12/2023 Timothy Burns Mediation preparation, including reviewing previous           2.20   $1,540.00
                        mediation notes, insurance policies, and case materials
                        (1.9); participate in call with state court counsel re
                        mediation developments and strategy (.3);
7/12/2023 Timothy Burns Travel to Rochester from Madison for CNA mediation            7.60   $2,660.00
                        [billed at 1/2 travel rate] (7.6);
7/13/2023 Timothy Burns Conference with J. Bair re mediation strategy (.2);           8.40   $5,880.00
                        conference with state court counsel re same (.2);
                        participate in full-day CNA mediation session (8.0);
7/13/2023 Jesse Bair    Prepare for CNA mediation session, including drafting         0.30    $187.50
                        revised CNA summary sheet (.3);
7/13/2023 Jesse Bair    Conference with T. Burns re mediation strategy (.2);          7.40   $4,625.00
                        participate in portion of CNA mediation session (7.2);
7/13/2023 Jesse Bair    Return travel to Madison from Rochester mediation             7.30   $2,281.25
                        [billed at 1/2 travel rate] (7.3);
7/13/2023 Timothy Burns Return travel to Madison from Rochester mediation             7.60   $2,660.00
                        [billed at 1/2 travel rate] (7.6);
7/14/2023 Timothy Burns Participate in call with I. Scharf re potential CNA plan      0.20    $140.00
                        (.1); conference with J. Bair re same (.1);
7/14/2023 Jesse Bair    Participate in conference with T. Burns re potential CNA      0.40    $250.00
                        Plan of Reorganization (.1); review correspondence with
                        I. Scharf, J. Stang, and state court counsel re same (.2);
                        correspondence with I. Scharf re upcoming status
                        conference with the Court (.1);
7/18/2023 Timothy Burns Participate in state court counsel call re CNA status         0.60    $420.00
                        hearing (.4); conference with J. Bair re same (.2);
7/18/2023 Jesse Bair    Correspondence with B. Michael re state court counsel         0.30    $187.50
                        meeting (.1); participate in conference with T. Burns re
                        CNA status hearing (.2);
7/19/2023 Jesse Bair    Review I. Scharf correspondence re case litigation            0.10     $62.50
                        update. status conference, and next-steps (.1);
7/19/2023 Jesse Bair    Preliminary analysis re CNA claim exposure using LMI          0.20    $125.00
                        and Interstate average claim settlement numbers (.2);
7/19/2023 Jesse Bair    Participate in call with state court counsel and T. Burns     0.20    $125.00
                        re CNA strategy (.2);
7/19/2023 Timothy Burns Review and respond to correspondence from state               0.40    $280.00
                        court counsel re case developments (.1); review
                        correspondence from I. Scharf re status conference (.1);
                        participate in call with state court counsel and J. Bair re
                        CNA strategy (.2);
7/20/2023 Timothy Burns Participate in conference with J. Bair re CNA strategy        2.80   $1,960.00
                        (.3); participate in call with state court counsel and J.
                        Bair re insurance strategy (.2); conference with J. Bair
                        re assignments re same (.2); participate in call with J.
                        Stang re response to CNA proposing a plan (.2);
                        consideration of same and formulation of strategy (.3);
                        participate in conference with J. Bair re same (.3);
                        prepare for meeting with PSZJ re insurance initiatives
                        (.3); participate in zoom meeting with PSZJ and J. Bair
                        re same (1.0);

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7/20/2023 Nathan Kuenzi Prepare for conference with J. Bair re draft Section 349          0.30    $126.00
                        complaint (.1); participate in conference with J. Bair re
                        Section 349 complaint and changes to the same (.2);
7/20/2023 Nathan Kuenzi Draft revised version of Section 349 complaint against            5.70   $2,394.00
                        CNA (5.7);
7/20/2023 Nathan Kuenzi Draft email to J. Bair summarizing work on Section 349            0.10     $42.00
                        complaint and describing outstanding issues (.1);
7/20/2023 Jesse Bair    Participate in conference with T. Burns re CNA strategy           0.70    $437.50
                        (.3); participate in call with state court counsel and T.
                        Burns re same (.2); participate in post-meeting
                        conference with T. Burns re assignments need for
                        completion in connection with same (.2);
7/20/2023 Jesse Bair    Provide instructions to N. Kuenzi re finalizing draft             0.60    $375.00
                        Section 349 complaint against CNA re CNA's unfair
                        claims practices (.2); correspondence with N. Kuenzi re
                        supplemental instructions and relevant case materials in
                        connection with same (.2); conference with N. Kuenzi re
                        suggested edits to preliminary draft complaint against
                        CNA (.2);
7/20/2023 Jesse Bair    Participate in supplemental conference with T. Burns re           0.30    $187.50
                        strategy in connection with CNA proposing its own Plan
                        of Reorganization (.3);
7/20/2023 Jesse Bair    Prepare for insurance strategy meeting with PSZJ team             1.10    $687.50
                        (.1); participate in strategy meeting with PSZJ team and
                        T. Burns re potential response to CNA filing its own Plan
                        of Reorganization and additional insurance issues (1.0);
7/20/2023 Jesse Bair    Participate in call with I. Scharf re draft joint letter to the   0.10     $62.50
                        Court re settlement status and update (.1);
7/21/2023 Timothy Burns Review joint status letter to the court (.2); participate in      0.40    $280.00
                        call with I. Scharf re same (.1); correspondence with I.
                        Scharf re same (.1);
7/21/2023 Jesse Bair    Review draft version of joint status letter to the Court          0.20    $125.00
                        (.1); review correspondence with First State and
                        Interstate re same (.1);
7/21/2023 Nathan Kuenzi Revise draft Section 349 complaint against CNA to                 1.30    $546.00
                        incorporate preliminary edits from T. Burns and J. Bair
                        (1.3);
7/24/2023 Leakhena Au Participate in BB team meeting re case developments                 0.40    $168.00
                        and related insurance assignments (.4);
7/24/2023 Jesse Bair    Participate in call with state court counsel and T. Burns         0.40    $250.00
                        re CNA strategy (.4);
7/24/2023 Jesse Bair    Participate in meeting with PSZJ team and T. Burns re             1.00    $625.00
                        CNA strategy (1.0);
7/24/2023 Jesse Bair    Review and edit draft Section 349 complaint against               0.80    $500.00
                        CNA (.7); correspondence with N. Kuenzi re suggested
                        edits to same (.1);
7/24/2023 Jesse Bair    Participate in BB team meeting re case status and                 0.40    $250.00
                        various insurance projects needed for completion re
                        CNA issues (.4);
7/24/2023 Jesse Bair    Participate in conference with state court counsel,               0.30    $187.50
                        PSZJ, and T. Burns re CNA strategy (.3);
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7/24/2023 Nathan Kuenzi Continue revising draft Section 349 complaint to               0.90    $378.00
                        incorporate further suggested changes from T. Burns
                        (.9);
7/24/2023 Nathan Kuenzi Participate in BB team meeting re case developments            0.40    $168.00
                        and related insurance assignments (.4);
7/24/2023 Brian Cawley Participate in BB team meeting re case developments             0.40    $168.00
                        and related insurance assignments (.4);
7/24/2023 Brian Cawley Begin drafting motion to lift stay of the insurance             1.40    $588.00
                        adversary proceeding (1.4);
7/24/2023 Timothy Burns Participate in call with state court counsel and J. Bair re    5.00   $3,500.00
                        CNA strategy (.4); review and revise draft Section 349
                        complaint against CNA (2.9); participate in call with
                        PSZJ and J. Bair re CNA strategy (1.0); participate in
                        call with PSZJ, state court counsel, and J. Bair re same
                        (.3); participate in BB team meeting re case
                        developments and related insurance assignments (.4);
7/25/2023 Leakhena Au Begin drafting Section 349 derivative demand letter to           5.30   $2,226.00
                        the Diocese (5.3);
7/25/2023 Nathan Kuenzi Continue revising and editing draft Section 349                3.00   $1,260.00
                        complaint against CNA to incorporate further partner
                        edits (3.0);
7/25/2023 Nathan Kuenzi Participate in conference with J. Bair re outstanding          0.20     $84.00
                        issues with draft Section 349 complaint and drafting
                        reply to the CNA's joint status letter response (.2);
7/25/2023 Nathan Kuenzi Participate in discussion with T. Burns re revising the        0.10     $42.00
                        Committee's draft reply to CNA's response re joint
                        status letter (.1);
7/25/2023 Nathan Kuenzi Revise and edit the Committee's reply to CNA's                 1.10    $462.00
                        response to the joint status letter to incorporate T. Burns'
                        suggested changes (1.1);
7/25/2023 Nathan Kuenzi Draft template stipulated judgment and associated              0.80    $336.00
                        Order for Judgment in connection with potential Plan
                        revisions (.8);
7/25/2023 Timothy Burns Review CNA's Response to the Committee's and                   5.70   $3,990.00
                        Diocese's Status Report (.2); conference with J. Bair re
                        same (.2); participate in call with state court counsel re
                        same (.2); draft potential response to same (1.5);
                        conference with N. Kuenzi re finalizing draft response to
                        CNA (.1); review and revise updated draft response to
                        CNA (.4); participate in call with I. Scharf and J. Bair re
                        stipulated judgment issues and draft reply to Continental
                        (.4); prepare for state court counsel meeting (.6);
                        participate in state court counsel meeting re insurance
                        strategy (1.0); review and revise I. Scharf's suggested
                        changes to reply to CNA (.7); review and respond to
                        correspondence from BB team re research re derivative
                        demand letter (.2); review of J. Stang's suggested edits
                        to reply to CNA's response (.2);
7/25/2023 Leakhena Au Correspondence with N. Kuenzi re research on Section             0.20     $84.00
                        349 and public policy issues re same (.2);


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7/25/2023 Jesse Bair   Analyze CNA's Response to the Committee and                    0.40   $250.00
                       Diocese's joint status report (.2); conference with T.
                       Burns re same and potential response (.2);
7/25/2023 Jesse Bair   Provide instructions to L. Au re preparing Section 349         0.10    $62.50
                       complaint derivative standing letter (.1);
7/25/2023 Jesse Bair   Revise, edit, and draft new portions of Section 349            1.30   $812.50
                       derivative standing letter to the Diocese (1.3);
7/25/2023 Jesse Bair   Review and edit initial draft of the Committee's reply to      0.20   $125.00
                       CNA's response to the parties' joint status letter to the
                       Court (.2);
7/25/2023 Jesse Bair   Review and edit revised version of the Committee's             0.30   $187.50
                       reply to CNA's recent status update filing (.3);
7/25/2023 Jesse Bair   Participate in state court counsel meeting re insurance        1.00   $625.00
                       case strategy and next-steps (1.0);
7/25/2023 Jesse Bair   Prepare for call with I. Scharf and T. Burns re stipulated     0.50   $312.50
                       judgment and overall CNA strategy (.1); participate in
                       call with I. Scharf and T. Burns re same (.4);
7/25/2023 Jesse Bair   Prepare stipulated judgment template in connection with        0.30   $187.50
                       potential Plan revisions (.2); correspondence with I.
                       Scharf re same (.1);
7/25/2023 Jesse Bair   Research case law re public policy aspect of Section           0.50   $312.50
                       349 claims under New York law (.2); correspondence
                       with N. Kuenzi and T. Burns re same (.1); participate in
                       conference with N. Kuenzi re edits to the draft Section
                       349 complaint and the Committee's reply to CNA's joint
                       status update response (.2);
7/25/2023 Jesse Bair   Review correspondence with I. Scharf and T. Burns re           0.10    $62.50
                       stipulated judgment issues and CNA response (.1);
7/25/2023 Brian Cawley Continue drafting motion to lift stay of the insurance         1.40   $588.00
                       adversary proceeding (1.4);
7/26/2023 Jesse Bair   Continue reviewing and editing draft Section 349               0.60   $375.00
                       derivative standing letter (.4); review I. Scharf's
                       suggested edits to same (.1); correspondence with T.
                       Burns re same (.1);
7/26/2023 Jesse Bair   Review J. Stang's and I. Nasatir's suggested edits to          0.50   $312.50
                       9019 denial motion against CNA (.1); review and edit
                       revised version of same (.4);
7/26/2023 Jesse Bair   Correspondence with the Committee re draft Section             0.10    $62.50
                       349 derivative standing letter to the Diocese (.1);
7/26/2023 Jesse Bair   Prepare for Committee meeting re case status, Plan,            1.20   $750.00
                       and insurance strategy (.1); participate in Committee
                       meeting re same (1.0); participate in follow-up call with I.
                       Scharf re same and next-steps (.1);
7/26/2023 Jesse Bair   Review J. Stang's suggested edits to the draft Section         0.60   $375.00
                       349 derivative standing letter (.2); edit and finalize
                       Section 349 derivative sanding letter to the Diocese
                       (.4);
7/26/2023 Jesse Bair   Provide supplemental instructions to B. Cawley re              0.10    $62.50
                       motion to lift stay re insurance adversary proceeding
                       (.1);

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7/26/2023 Jesse Bair    Participate in conference with N. Kuenzi re draft Section      0.10     $62.50
                        349 complaint against CNA (.1);
7/26/2023 Jesse Bair    Analysis of NY GBL Section 349 case law in connection          0.10     $62.50
                        with draft complaint against CNA (.1);
7/26/2023 Nathan Kuenzi Participate in conference with J. Bair re Section 349          0.10     $42.00
                        complaint and additional revisions needed to same (.1);
7/26/2023 Nathan Kuenzi Continue revising draft Section 349 complaint against          2.30    $966.00
                        CNA (2.3);
7/26/2023 Timothy Burns Review and revise Section 349 derivative standing              1.90   $1,330.00
                        letter (.4); review I. Scharf's suggested changes to same
                        (.2); review revised draft of reply to CNA (.3); participate
                        in Committee meeting for insurance purposes re case
                        insurance issues (1.0);
7/27/2023 Brian Cawley Finish drafting motion to lift stay in the insurance            2.40   $1,008.00
                        adversary proceeding (2.4);
7/27/2023 Nathan Kuenzi Participate in conference with T. Burns re Section 349         0.10     $42.00
                        complaint revisions (.1);
7/27/2023 Nathan Kuenzi Draft revisions to updated version of Section 349              3.30   $1,386.00
                        complaint against CNA, incorporating additional edits
                        from T. Burns (3.3);
7/27/2023 Timothy Burns Review and revise latest draft of Section 349 complaint        3.10   $2,170.00
                        (.8); conference with N. Kuenzi re same (.1); conference
                        with J. Bair re same (.1); review and revise motion
                        papers re insurance 9019 denial (.7); correspondence
                        with I. Scharf re same (.1); conference with J. Bair re
                        same (.1); review and revise most recent iteration of
                        Section 349 complaint (1.1); conference with N. Kuenzi
                        re same (.1);
7/27/2023 Nathan Kuenzi Participate in additional conference with T. Burns re          0.10     $42.00
                        status of and revisions to draft Section 349 complaint
                        (.1);
7/27/2023 Jesse Bair    Conference with T. Burns re draft Section 349 complaint        0.10     $62.50
                        against CNA (.1);
7/27/2023 Jesse Bair    Review and respond to correspondence with the                  0.30    $187.50
                        Committee re CNA insurance strategy (.2); review
                        additional correspondence with state court counsel re
                        same (.1);
7/27/2023 Jesse Bair    Participate in conference with T. Burns re revised             0.10     $62.50
                        motion papers re 9019 motion (.1);
7/27/2023 Jesse Bair    Answer B. Cawley questions re motion to lift stay re           0.10     $62.50
                        insurance adversary proceeding (.1);
7/28/2023 Jesse Bair    Review revised version of Committee 9019 denial                0.30    $187.50
                        motion against CNA (.2); correspondence with I. Scharf
                        re same (.1);
7/28/2023 Jesse Bair    Revise, edit, and finalize draft Section 349 complaint         1.90   $1,187.50
                        against CNA (1.7); participate in conference with T.
                        Burns re same (.2);
7/28/2023 Timothy Burns Review and revise final version of Section 349                 2.40   $1,680.00
                        complaint against CNA (2.1); met with J. Bair re same
                        (.2); participate in call with I. Scharf re same (.1);

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7/31/2023 Jesse Bair   Review CNA's response to the Committee's 9019          0.20     $125.00
                       denial motion (.2);
Total Hours and Fees                                                         128.40 $67,369.25

                                         EXPENSES


Date                   Description                                                     Amount
7/1/2023               Second Quarter 2023 PACER (Public Access to Court                 $3.90
                       Electronic Records)
7/8/2023               CloudNine, database monthly hosting fee (June 2023)              $46.97
7/12/2023              Delta Airlines, T. Burns (MSN-ROC July 12-13)                   $642.40
7/12/2023              Delta Airlines, J. Bair (MSN-ROC July 12-13)                    $642.40
7/12/2023              Hotel, T. Burns (1 night)                                       $267.01
7/12/2023              Travel meal, T. Burns                                            $28.55
7/12/2023              Hotel, J. Bair (1 night)                                        $267.01
7/12/2023              Delta Airlines WiFi Onboard, J. Bair                              $4.95
7/12/2023              Delta Airlines WiFi Onboard (2nd leg), J. Bair                    $4.95
7/12/2023              Taxi, J. Bair and T. Burns (airport to hotel)                    $36.00
7/12/2023              Travel meal, J. Bair                                             $15.27
7/13/2023              Airport parking, J. Bair                                         $20.00
7/13/2023              Uber, J. Bair and T. Burns (mediation to airport)                $63.52
7/13/2023              Uber, J. Bair and T. Burns (hotel to mediation)                  $56.10
7/13/2023              Travel meal, T. Burns and J. Bair                                $52.14
7/20/2023              Postage                                                           $4.35
Total Expenses                                                                        $2,155.52


                                   Timekeeper Summary
Name                                     Hours                 Rate                    Amount
Brian Cawley                               5.60             $420.00                   $2,352.00
Jesse Bair                               14.90              $312.50                   $4,656.25
Jesse Bair                               29.40              $625.00                  $18,375.00
Leakhena Au                                6.50             $420.00                   $2,730.00
Nathan Kuenzi                            20.80              $420.00                   $8,736.00
Timothy Burns                            15.20              $350.00                   $5,320.00
Timothy Burns                            36.00              $700.00                  $25,200.00



                                                            Total Due This Invoice: $69,524.77




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